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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 21-3015                                                September Term, 2020
                                                                    1:21-mj-00297-GMH-1
                                                      Filed On: May 21, 2021
United States of America,

              Appellee

       v.

Thomas F. Sibick,

              Appellant



            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


              BEFORE:       Tatel, Millett, and Wilkins, Circuit Judges


                                    JUDGMENT

        This appeal was considered on the record from the United States District Court
for the District of Columbia and on the memoranda of law and fact filed by the parties.
The court has determined that the issues presented occasion no need for an opinion.
See D.C. Cir. Rule 36. It is

       ORDERED AND ADJUDGED that the district court's pretrial detention order
entered on March 17, 2021, be affirmed. Appellant has not shown that the district court
clearly erred in finding that no condition or combination of conditions of release would
reasonably assure the safety of any other person and the community. See United
States v. Munchel, 991 F.3d 1273, 1282, 1284 (D.C. Cir. 2021). Appellant participated
in an ongoing violent assault on a police officer at the Capitol on January 6, 2021,
ripping off the officer's radio – his lifeline for help – and his badge. As we explained in
Munchel, "those who actually assaulted police officers and broke through windows,
doors, and barricades, and those who aided, conspired with, planned, or coordinated
such actions, are in a different category of dangerousness than those who cheered on
the violence or entered the Capitol after others cleared the way." Id. at 1284.
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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 21-3015                                                September Term, 2020

        In addition, appellant's multiple and repeated lies and misrepresentations to
investigators about his conduct undermine his credibility and erode trust that he will
comply with conditions of release. Moreover, appellant faces numerous serious felony
charges as a result of his conduct, and his criminal history includes convictions for
failing to comply with a law enforcement order and attempted reckless endangerment.
In these circumstances, the district court did not clearly err in detaining appellant based
on his dangerousness.

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution
of any timely petition for rehearing or petition for rehearing en banc. See Fed. R. App.
P. 41(b); D.C. Cir. Rule 41.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk




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